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                    UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WISCONSIN


STATE OF WISCONSIN,                    No. 3:22-cv-00412-wmc

                  Plaintiff,

      v.

3M COMPANY (a/k/a Minnesota Mining
and Manufacturing Company); E. I. DU
PONT DE NEMOURS AND COMPANY;
THE CHEMOURS COMPANY; THE
CHEMOURS COMPANY FC, LLC;
DUPONT DE NEMOURS, INC.;
BUCKEYE FIRE EQUIPMENT
COMPANY; KIDDE-FENWAL, INC.;
NATIONAL FOAM, INC.; TYCO FIRE
PRODUCTS, LP; CHEMGUARD, INC.;
AMEREX CORPORATION;
CHEMDESIGN PRODUCTS, INC.; BASF
CORPORATION; DYNAX
CORPORATION; ARCHROMA U.S.,
INC.; CARRIER GLOBAL
CORPORATION; UTC FIRE &
SECURITY AMERICAS
CORPORATION, INC.; CLARIANT
CORPORATION; AND DOE
DEFENDANTS 1-20,

                  Defendants.



PLAINTIFF STATE OF WISCONSIN’S OPPOSITION TO DEFENDANTS’ MOTION
  TO STAY PENDING TRANSFER DECISION BY THE JUDICIAL PANEL ON
                    MULTIDISTRICT LITIGATION
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I.      INTRODUCTION

        The State of Wisconsin (“the State”) brought this action in Wisconsin state court against

eighteen named defendants that manufactured, marketed, and sold PFAS-containing products

(“PFAS Products”), including a subset of defendants that manufactured aqueous film-forming

foams (“AFFF”) containing the chemicals PFOS and/or PFOA. In its complaint, the State alleges

geographically widespread contamination, ranging from impacts to large bodies of water to

specific sites where contamination has been detected and documented. Because of this

contamination, the State brings exclusively state-law claims under its parens patriae authority.

Defendants Tyco Fire Products LP (“Tyco”) and Chemguard, Inc. (“Chemguard”) (collectively,

“Tyco Defendants”) removed this action to this Court, relying on flawed jurisdictional theories

relating to the federal-officer removal statute, 28 U.S.C. § 1442(a)(1), and the doctrine of federal

enclave jurisdiction. Because this Court lacks subject-matter jurisdiction, the State moved to

remand. See ECF No. 12 (remand motion); ECF No. 13 (memorandum supporting remand

motion).

        Disregarding the special “sovereignty concerns that arise when a case brought by a state in

its own courts is removed to federal court,” LG Display Co. v. Madigan, 665 F.3d 768, 774 (7th

Cir. 2011), the Tyco Defendants move for a stay of proceedings, asking this Court to avoid ruling

on the State’s remand motion. ECF No. 10 (Mot.). The Tyco Defendants contend the State should
be denied any opportunity to air its jurisdictional objections until after the Judicial Panel on

Multidistrict Litigation (“Panel,” or “JPML”) rules on the State’s motion to vacate a conditional

transfer order (“CTO”) that—if not vacated—would transfer this action to the In re Aqueous Film-

Forming Foams Products Liability Litigation multidistrict litigation (“AFFF MDL”) in the District

of South Carolina. MDL No. 2873 (D.S.C.). As the Tyco Defendants admit, their requested stay

is lengthy because the JPML will not rule on the State’s motion to vacate the CTO until December,

at earliest. Mot. at 6 n.4.




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        Previous decisions by Seventh Circuit district courts show that this Court should hesitate

to enter a stay where there is a pending CTO and the plaintiff challenges federal subject-matter

jurisdiction. And under the exceptional facts of this case, where a state sovereign seeks remand of

a state-law action to its own courts, this Court should be even more reluctant to stay these

proceedings because of federalism and comity concerns. See LG Display Co., 665 F.3d at 774.

        The Tyco Defendants do not carry their Herculean burden to justify a stay under these

circumstances. As the Tyco Defendants suggest, see Mot. at 8, this Court may find instructive the

three-step framework identified by Judge Adelman in Meyers v. Bayer AG, 143 F. Supp. 2d 1044

(E.D. Wis. 2001), where the court similarly considered whether to enter a stay given a pending

CTO and a pending remand motion challenging federal subject-matter jurisdiction. First, because

a court should hesitate to enter a stay while a movant seeks remand for lack of subject-matter

jurisdiction, the court should conduct “a preliminary assessment of the jurisdictional issue.” Id. at

1048. When the Court reviews the State’s remand motion under the first step of Meyers, the Court

will quickly find that the Tyco Defendants have flunked their burden to establish federal subject-

matter jurisdiction. See id. at 1048. So, this action should be returned to district court, full stop.

        Even if this Court proceeds to the second and third Meyers steps, a stay would be

unwarranted. Second, this Court should resolve the State’s remand motion because the

jurisdictional issues at hand are neither factually nor legally difficult, and also because the District
of South Carolina (the potential transferee court that oversees the AFFF MDL) has not routinely

resolved similar or identical jurisdictional questions. Third, this Court should deny the Tyco

Defendants’ stay motion because the traditional factors do not favor a stay. Consider what this

action is about: the State seeks judicial relief to safeguard Wisconsin residents from an

unprecedented pollution problem that has caused pervasive health and environmental risks across

the state. Litigation of such overriding public importance should not be delayed, especially as all

parties benefit from speedy resolution of disputes. Meanwhile, the Tyco Defendants fail to explain
how they would be prejudiced if this Court rules on the State’s remand motion; after all, this Court



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is perfectly well-equipped to decide whether it has federal subject-matter jurisdiction. And a stay

would disserve judicial economy by delaying the resolution of an important threshold issue.

       Because the Tyco Defendants cannot possibly meet all three steps of the Meyers framework

and thereby justify a stay, they try to inject an irrelevant consideration into this Court’s analysis.

Namely, the Tyco Defendants argue that when deciding whether to stay this action, this Court

should guess whether the JPML will transfer this action to the AFFF MDL. See Mot. at 1–2. If

there is a high probability of a transfer, the Tyco Defendants contend, this Court should enter a

stay. Id. But the Tyco Defendants’ proposed guessing game is unsupported by the case law they

cite. If anything, district courts have scrupulously avoided considering the likelihood of a transfer

when considering a stay under similar circumstances. And rightly so. This Court’s speculation

about whether the JPML will transfer this action would amount to an advisory opinion that intrudes

upon a decision reserved solely for the JPML, not this Court. And even if the Court considers the

likelihood of a transfer, the Tyco Defendants are wrong that transfer is “virtually certain,” id. at 2,

or that this Court should enter a stay if transfer seems likely.

       This Court should not entertain the Tyco Defendants’ attempts to evade jurisdictional

scrutiny. The Tyco Defendants’ motion to stay proceedings should be denied.

II.    BACKGROUND

               Factual Background

       The State’s factual allegations are only tangentially relevant to the Tyco Defendants’

motion to stay. These allegations are detailed in the State’s remand motion, which is incorporated

here by this reference. See ECF No. 12, 13. In short, PFAS are toxic, carcinogenic, and highly

problematic pollutants that are virtually omnipresent in Wisconsin. See ECF No. 1-1 (Compl.)

¶¶ 1–10. PFAS pollution is ubiquitous partly because it was used in an extraordinarily wide array

of PFAS Products. Id. ¶¶ 55-56 (describing the variety of PFAS Products including household

consumer goods, personal care products, textiles, and use in industrial processes).




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        The State has sued eighteen defendants that manufactured, marketed, and sold PFAS

Products, including the Tyco Defendants. The Tyco Defendants sold AFFF, only one of many

different kinds of PFAS Products. Importantly, the scope of the State’s suit matches the scope of

the pollution problem it faces. Because PFAS pollution is pervasive statewide, the Complaint does

not focus on any particular site. Rather, the Complaint takes a comprehensive, statewide approach.

                Procedural Background

        The State brought this action in Wisconsin state court, asserting only claims under

Wisconsin common law. These claims include continuing public nuisance, continuing private

nuisance, continuing trespass, negligence, strict products liability for failure to warn, and strict

products liability for design defect. Compl. ¶¶ 13, 180–244.

        The Tyco Defendants timely removed this action to this Court. See ECF No. 1 (Notice of

Removal). They assert this Court has subject-matter jurisdiction under the federal-officer removal

statute and the doctrine of federal enclave jurisdiction. See generally id. None of the sixteen other

Defendants have since endorsed the Tyco Defendant’s theories of federal subject-matter

jurisdiction.

        Shortly after removal, the Tyco Defendants notified the Clerk of the JPML that the State’s

suit might be a candidate for transfer to the AFFF MDL. See AFFF MDL, Notice of Potential Tag-

Along (JPML ECF No. 1502);1 JPML R. 7.1(a) (requirement to notify the Panel’s Clerk about

“potential tag-along actions”). The AFFF MDL consists of over a thousand actions relating to

PFAS contamination arising out of the use of AFFF. The Panel’s Clerk then entered a CTO that,


1
   The AFFF MDL has two dockets, both accessible via CM/ECF. One docket consists of
proceedings before the JPML, which mostly concern whether actions should be transferred to the
MDL. The case number for the JPML docket is “No. 2873.” The other docket consists of post-
transfer proceedings before the District of South Carolina, the transferee court. The case number
for the District of South Carolina docket is “No. 2:18-mn-02873-RMG.”
        When citing docket entries on the JPML docket, this Memorandum will use the convention,
“AFFF MDL, [document title] (JPML ECF No. [number]).” When citing docket entries on the
District of South Carolina’s docket, this Memorandum will use the convention “AFFF MDL,
[document title] (D.S.C. ECF No. [number]).”

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if finalized, would transfer this action to the AFFF MDL. See AFFF MDL, Notice of Filing of CTO

and Publication of Briefing Schedule (“CTO-99”) (JPML ECF No. 1513); see also JPML R.7.1(b)

(Clerk’s authority to enter a CTO). Anticipating the State’s remand motion, the Tyco Defendants

then moved to stay the proceedings in this Court. ECF No. 10.

        In turn, the State has taken three actions. First, on August 25, 2022, the State timely filed

a motion with the Panel to vacate the CTO. AFFF MDL, Motion to Vacate Conditional Transfer

Order (CTO-99) (JPML ECF No. 1550); see also JPML R. 7.1(f) (party’s right to move to vacate

a CTO). In that motion, the State asked for two alternative forms of relief: (1) to vacate the CTO

because transfer would disserve the interests set out in 28 U.S.C. § 1407(a), the statute describing

the purposes of multidistrict litigation; and (2) to stay the effective date of the CTO until after this

Court rules on the remand motion. See generally AFFF MDL, Motion to Vacate Conditional

Transfer Order (CTO-99) (JPML ECF No. 1550). Briefing on the State’s motion to vacate the

CTO is scheduled to complete on September 21, 2022. See AFFF MDL, Notice of Filed

Oppositions to CTO-99 and Publication of Briefing Schedule (JPML ECF No. 1526). As Tyco

acknowledges, the Panel will not rule on the State’s motion to vacate the CTO until after it hears

the matter on December 1, 2022. See ECF No. 10 at 6 n.4. In other words, this action—including

the State’s remand motion—will remain before this court at least until December.

        Second, the State moved to remand this action. See ECF No. 12, 13. Briefing on the motion
is scheduled to complete on September 26, 2022. As noted, this Court is, and will be for the

foreseeable future, the only court authorized to decide the remand motion and return this action to

state court.

        Third, the State, through this Opposition, opposes Defendants’ motion to stay this action.

III.    LEGAL STANDARDS

        Three competing sets of legal considerations converge here: this Court’s power to stay

actions, this Court’s obligation to assure itself that it has jurisdiction of the actions before it, and




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the special federalism and comity concerns at play when an action brought by a state sovereign in

its courts is removed to federal court.

       First, a federal district court’s power to stay proceedings is “incidental to the power

inherent in every court to control the disposition of the causes on its docket with economy of time

and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254–55

(1936). While a court has significant latitude to enter stays, its discretion is bounded by the

requirement to “exercise” sound “judgment” by “weigh[ing] competing interests and maintain[ing]

an even balance between them.” Id. at 254–55.

       Second, the U.S. Supreme Court has repeatedly stressed that courts should ensure that they

have subject-matter jurisdiction over the actions before them. Attentiveness to jurisdictional

limitations keep courts within “the bounds of authorized judicial action” and prevents them from

“offend[ing] fundamental principles of separation of powers.” Steel Co. v. Citizens for a Better

Env’t, 523 U.S. 83, 94–95 (1998). Put another way, because jurisdictional limitations “spring[]

from the nature and limits of the judicial power of the United States,” they are generally “inflexible

and without exception.” Id. (quotations omitted). So, a court must confirm it has subject-matter

jurisdiction before pressing forward with an action. See Sinochem Int’l Co. v. Malaysia Int’l

Shipping Corp., 549 U.S. 422, 431 (2007) (courts may choose among non-merits threshold

grounds to deny an audience to a case on the merits).
       Third, when an action brought by a state sovereign in its own courts is removed to federal

court, the removal gives rise to particular sovereignty and comity concerns. LG Display Co. v.

Madigan, 665 F.3d 768, 774 (7th Cir. 2011) (identifying “the sovereignty concerns that arise when

a case brought by a state in its own courts is removed to federal court”). “[C]onsiderations of

comity make [courts] reluctant to snatch cases which a State has brought from the courts of that

State, unless some clear rule demands it.” Franchise Tax Bd. v. Constr. Laborers Vacation Tr.,

463 U.S. 1, 21 n.22 (1983).




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       The State has not located any case where a court adjudicated a stay motion implicating all

three of these considerations—i.e., when a defendant seeks (1) a stay, (2) that would prevent a

court from hearing a remand motion that challenges federal subject-matter jurisdiction, (3) where

the movant is a state sovereign that sued in its courts. But some courts, including district courts in

the Seventh Circuit, have adjudicated stay motions under similar circumstances that implicate only

the first two considerations—where a movant seeks a stay pending a CTO, the stay would prevent

the court from hearing a remand motion based on a lack of subject-matter jurisdiction, and the

movant is not a state sovereign.

       In such cases, Seventh Circuit district courts have expressed great reluctance to enter stays.

Judge Adelman’s carefully reasoned and influential order in Meyers v. Bayer AG, 143 F. Supp. 2d

1044 (E.D. Wis.), which the Tyco Defendants also endorse, see Mot. at 8, is instructive. There, the

court considered whether to adjudicate a remand motion challenging subject-matter jurisdiction,

or wait for the JPML to decide whether to transfer the action. Id. at 1045–46. Although Judge

Adelman recognized that he arguably was “empower[ed] . . . to stay the case without making any

effort to verify jurisdiction,” he was “reluctant to do so” for four reasons: (1) the “constitutional

importance” of subject-matter jurisdiction; (2) the statutory command in 28 U.S.C. § 1447(c) that

an action “shall be remanded” if subject-matter jurisdiction is absent; (3) the judicial efficiency

benefits gained from early jurisdictional determinations; and (4) the “important [non-merits]
effects” a stay can have “on the litigation.” Id. at 1048. Accordingly, Judge Adelman found it

necessary to undertake a “preliminary assessment” of federal subject-matter jurisdiction before he

could even entertain the defendant’s stay motion. Id. at 1049.

       Based on these considerations, Judge Adelman developed a three-step test to decide

whether to stay an action given a pending CTO and a pending remand motion for lack of subject-

matter jurisdiction. As the Tyco Defendants implicitly recognize, Judge Adelman’s test—while

not binding precedent—has been highly influential both within and outside of the Seventh Circuit.
First, “a court should first give preliminary scrutiny to the merits of the motion to remand.” Id. “If



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this preliminary assessment suggests that removal was improper, the court should promptly

complete its consideration and remand the case to state court.” Id.

       Second, the court should determine whether the “the jurisdictional issue appears factually

or legally difficult.” Id. If not, the Court should decide the remand motion. Id. If the jurisdictional

issue does appear difficult, the court should nonetheless decide the remand motion unless

“identical or similar jurisdictional issues have been raised in other cases that have been or may be

transferred to the MDL proceeding.” Id. at 1049. When describing this second step, Judge

Adelman doubled down on his reluctance to stay the action: “The only reason to permit the

transferee court to decide the jurisdictional issue would be to further judicial economy and

consistency” in light of other cases presenting virtually identical jurisdictional issues. Id.

(emphasis added).

       Third, only if the court has not decided the remand motion under the first or second steps,

the court should consider the substance of the stay motion. Id. at 1049. The court should consider

the wide array of factors traditionally relevant to a stay—for example, judicial economy and the

balance of equities. Id.

       Like the Tyco Defendants, the State believes Meyers’ methodical three-step approach

provides an appropriate framework to guide this Court’s exercise of discretion. But this Court

should be even more skeptical of a stay than Judge Adelman, because he did not address a remand
motion by a state sovereign seeking to return an action to its courts.

IV.    ARGUMENT

       Under Judge Adelman’s three-step Meyers framework, resolving the Tyco Defendants’

stay motion is simple. When the Court—at step one—preliminarily assesses the State’s remand

motion, the Court will find that the Tyco Defendants fall far short of their burden to establish

federal subject-matter jurisdiction. Accordingly, this Court should remand this action and deny the

Tyco Defendants’ stay motion.




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       Even if this Court proceeds beyond the first step, a stay would nevertheless be unwarranted.

Considering step two, the jurisdictional issues are not factually or legally difficult. The State’s

remand motion does not require the Court to weigh evidence or resolve factual disputes, and the

applicable law—which mostly consists of a chorus of U.S. Supreme Court and Seventh Circuit

precedents that squarely foreclose the Tyco Defendants’ removal theory—is straightforward. And

the District of South Carolina has not routinely resolved identical or similar issues in other actions

that reside in the AFFF MDL. Turning to step three, a stay is unwarranted under the traditional

stay factors. Judicial economy would be disserved by a stay. The balance of equities strongly

favors early resolution of the State’s remand motion, especially given the federalism and comity

problems posed by the Tyco Defendants’ poorly justified removal.

       Because the Tyco Defendants cannot justify a stay under Meyers, they invite this Court to

speculate about whether the JPML will transfer this action. The case law does not support the Tyco

Defendants’ guessing game, which is improper given the prohibition of advisory opinions and

Congress’s decision to vest transfer decisions solely in the JPML. And even if this Court tries to

predict what the JPML will do, the State has compelling arguments against transfer that prevent

any clear predictions, and the likelihood of a transfer would not affect the conclusion that a stay is

unwarranted under the three Meyers steps.

                Step One: This Court Should Remand This Action After a Preliminary
                Assessment.

       The State’s remand motion, which this Court should examine first under Judge Adelman’s

framework, thoroughly describes why this Court lacks subject-matter jurisdiction under the Tyco

Defendants’ federal-officer removal and federal enclave jurisdiction theories. See ECF No. 13

(memorandum in support of remand motion). To avoid duplication, the State will provide only a

summary here.

       The Tyco Defendants fail three of the four requirements of the federal-officer removal
statute, 28 U.S.C. § 1442(a)(1). First, the Tyco Defendants fail to show that they ever “acted under”



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federal officers: they fail to demonstrate that did anything more than follow federal regulations

and subject themselves to federal oversight relating to PFAS-containing AFFF. It is well-

established that even intensive regulatory oversight does not allow private parties like the Tyco

Defendants to take advantage of the federal-officer removal statute. See, e.g., Lu Junhong v. Boeing

Co., 792 F.3d 805, 808 (7th Cir. 2015). Notably, the Tyco Defendants do not allege that they ever

sold a single drop of AFFF to the United States. See generally Notice of Removal.

       Second, the Tyco Defendants do not show the required connection between the actions

they took under federal officers and the State’s suit. Because the Tyco Defendants fail to show

they acted under federal officers, they axiomatically cannot establish the requisite connection.

Even assuming the Tyco Defendants had shown they took some actions under federal officers

relating to AFFF, the Tyco Defendants fail to show any nexus between such actions and the PFAS

contamination in Wisconsin that gives rise to the State’s claims.

       Third, the Tyco Defendants fail to demonstrate that they have a colorable government-

contractor defense. To assert a government-contractor defense to liability, a contractor that

supplies a product to the United States must demonstrate that it warned the United States about all

product dangers known to it but not the United States. E.g., Ruppel v. CBS Corp., 701 F.3d 1176,

1185 (7th Cir. 2012). The Tyco Defendants do not allege that they warned the United States (or

anyone else) about any of their products’ dangers, much less allege that they met the strict warning
requirements for a government-contractor defense. See generally Notice of Removal.

       The Tyco Defendants likewise fail to establish federal enclave jurisdiction. First, the State

does not seek judicial relief for any harms suffered on federal enclaves. Second, to the extent the

State seeks judicial relief for harm suffered in Wisconsin’s sovereign territory and outside of any

federal enclaves, the Complaint makes clear that most of that harm was caused by conduct or

occurrences that took place outside of federal enclaves. Courts agree that federal enclave

jurisdiction is absent where, as here, the party asserting jurisdiction can demonstrate only a tenuous
connection between the suit and a federal enclave.



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       If this Court agrees that it lacks subject-matter jurisdiction, its inquiry can end here. The

Tyco Defendants’ stay motion should be denied.

               Step Two: The Remand Motion Is Not Difficult, and the Transferee Court
               Has Not Routinely Adjudicated Identical or Similar Jurisdictional Issues.

       Judge Adelman’s second step is comprised of two distinct sub-steps. See Meyers, 143 F.

Supp. 2d at 1049. First, the Court asks whether “the jurisdictional issue[s] appear[] factually or

legally difficult.” Id. Here, the issues are straightforward. Id. Second, if there are difficult issues,

the Court asks whether the potential transferee court—here, the District of South Carolina—has

resolved identical or similar jurisdictional issues. Id. Here, the court has not done so.

                   1. The jurisdictional issues are neither factually nor legally difficult.

       The State’s remand motion is neither factually nor legally difficult. As for the facts, the

State deliberately chose to present strong, straightforward, and limited grounds for remand. See

ECF No. 13 at 9 (explaining that “[t]o aid this Court’s efficient resolution of [the remand motion],”

the State carefully curated its remand arguments). The only facts this Court needs to consider are

in the State’s Complaint and the Tyco Defendants’ Notice of Removal. Id. So, the Court will not

have to receive any evidence. The remand motion is based on the Tyco Defendants’ failure to

plead necessary jurisdictional facts—not on factual disputes between the parties. So, the Court will

not have to resolve complicated factual questions.

       The law is similarly straightforward. Federal-officer removal is not infrequently litigated,
so the U.S. Supreme Court and Seventh Circuit have developed a thorough body of case law. For

example, Tyco’s invocation of federal-officer removal can be rejected with a single,

straightforward rule: federal regulation does not mean a private party was acting under a federal

officer.2 While the Seventh Circuit has not provided much guidance on the federal-enclave



2
  Or, as the remand motion explains, this Court can remand on the grounds that Tyco failed to
show that it discharged its duty to warn the United States about the dangers of its PFAS-containing
AFFF. See ECF No. 13 at 18–21.


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jurisdiction doctrine, the law is not difficult as it applies to the record. Although different courts

have proposed slightly different standards, the Tyco Defendants’ theory of federal-enclave

removal is so tenuous that it falls apart under any of them. Id. at 21–25.

         In sum, even if this Court proceeds past step one of Judge Adelman’s framework, it should

resolve the State’s remand motion because it is not difficult.

                    2. The Tyco Defendants fail to show that the potential transferee court
                       has resolved identical or similar jurisdictional issues.
         Even if this Court proceeds to step two, sub-step two of the Meyers framework, it will find
that the District of South Carolina has not resolved identical or similar jurisdictional issues. The

Tyco Defendants purport to identify three similar cases in which the District of South Carolina

resolved identical or similar jurisdictional issues. ECF No. 10 at 15–16. The Tyco Defendants refer

to these decisions as AFFF I,3 AFFF II,4 and AFFF III.5 These are the same decisions labeled as

MDL Order 1, MDL Order 2, and MDL Order 3 in the Tyco Defendants’ Notice of Removal and

in the State’s remand motion.

         As for acting-under and connection requirements of federal-officer removal, AFFF I and

AFFF II presented very different questions for the reasons explained in the State’s remand motion:

in those actions, the parties agreed that the defendants invoking federal jurisdiction had sold AFFF

to the United States. ECF No. 13 at 15 (citing AFFF I at 4 (plaintiff “allege[d] that Tyco

manufactured and sold AFFF products . . . to the U.S. military”); AFFF II at 4 (removing

defendants had “sold a portion of the AFFF products” at issue “to the U.S. military”)). AFFF III

is distinguishable because the court’s order did not consider the voluminous case law holding that

mere compliance with federal regulations does not support federal-officer removal, and because



3
    AFFF MDL, Order (D.S.C. ECF No. 103).
4
    AFFF MDL, Order (D.S.C. ECF No. 320).
5
    AFFF MDL, Order (D.S.C. ECF No. 325).


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the plaintiff was not a state sovereign seeking remand to its own courts. Id. at 16 (citing AFFF III

at 4).

          As for the colorable-federal-defense element of federal-officer removal, AFFF I is the only

order where the District of South Carolina considered whether the removing defendant had met

their burden to show that they had discharged their duty to warn. AFFF I at 4–5. That analysis is

distinguishable because the Court considered a different factual record. Regardless of what was at

issue in AFFF I, the record in this action firmly establishes that the United States’ knowledge of

the dangers of AFFF-containing PFAS severely lagged the Tyco Defendants’ knowledge at all

relevant times, and that the Tyco Defendants never warned anyone, much less the United States,

of the dangers of its PFAS-containing AFFF. ECF No. 13 at 18–21.

          As for federal-enclave jurisdiction, AFFF I is the only order considering the doctrine. The

court’s analysis is distinguishable because it did not consider any argument that the plaintiff did

not seek relief for harm occurring inside the federal enclave, or any argument that the plaintiff’s

harms were overwhelmingly caused by transactions and occurrences that occurred outside of any

federal enclaves. AFFF I at 6–7.

          Even assuming this Court reaches this step of the Meyers framework, Tyco fails to show

that AFFF I, AFFF II, and AFFF III—cases involving different allegations and different notices

of removal—share similar or identical issues. This Court can readily confirm by examining these
orders that the District of South Carolina has not meaningfully considered the arguments the State

makes in its remand motion.

                 Step Three: The Traditional Factors Weigh Against a Stay.

          The final step of Judge Adelman’s framework consists of the traditional factors a court

weighs when considering a stay. These include—but are not limited to—judicial economy;

prejudice to the moving party if the action is not stayed; and potential prejudice to the non-moving

party from a stay. Meyers, 143 F. Supp. 2d at 1049. These factors heavily favor the State.




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                   1. A stay would harm the people of Wisconsin because this litigation is of
                      overriding public importance.
        The Tyco Defendants suggest that any delay caused by a stay would be inconsequential

because litigating a case of this size and complexity will take time. See Mot. at 18. In doing so, the

Tyco Defendants ignore the gravity of the harm they allegedly caused. The State’s suit is large and

complicated precisely because Wisconsin residents face an unprecedented PFAS pollution

problem that has pervasively threatened health, safety, and welfare. Equity does not favor delaying

an action of such overriding public importance. Indeed, the magnitude of this case is all the more

reason to quickly resolve the important threshold issue of which court system should handle this
action. By ruling on the State’s remand motion, this Court will eliminate a key roadblock that

prevents this action from proceeding.

        This is especially true because the Tyco Defendants seek a lengthy stay. The JPML will

not decide whether to transfer this action to the AFFF MDL until December, at earliest. See ECF

No. 10 at 6 n.4. If this action is not transferred, this Court will likely schedule a hearing on this

motion in late 2022 or early 2023. If this action is transferred, the District of South Carolina will

likely be unable to consider this Motion for some time, because the court is slated to oversee

voluminous motions practice in advance of the AFFF MDL’s first bellwether trial in the spring of

2023. See AFFF MDL, Case Management Order No. 19 (D.S.C. ECF No. 1844). The State may

well be forced to wait until late 2023 for any potential movement of its case in the MDL, at the

earliest. And the District of South Carolina might need even more time: while that court has ably

overseen the AFFF MDL, sound case management cannot alter the basic fact that the proceeding

contains thousands of actions. If this action is remanded, the State would be forced to begin anew

in state court.

        The Tyco Defendants are wrong, moreover, to suggest that because the State does not seek

emergency judicial relief, its claims are not time sensitive. See Mot. at 18. This argument ignores

that the State has initiated a massive response to PFAS pollution that involves numerous state
agencies and enlists academic institutions, first responders, businesses, local governments, and


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other stakeholders. Compl. ¶ 11, 167–79. The State is not doing so because it finds PFAS pollution

to be a mere curiosity. The State must safeguard its residents from grave and potentially life-

threatening harm. Id. ¶¶ 63 (even low doses of PFAS can cause cancer, liver damage, endocrine

harm, immune harm, reproductive harm, and myriad other potentially fatal injuries to people).

       Of course, while a delay would be especially harmful to the people of Wisconsin, it would

also harm every other party. All parties have an interest in the speedy resolution of civil actions.

So, a stay would prejudice even the Tyco Defendants.

                   2. The Tyco Defendants would not be prejudiced absent a stay.
       The Tyco Defendants, as with the other defendants, will not be prejudiced by proceeding

with this matter. The Tyco Defendants only vaguely argue that without a stay, they would be

subject to “duplicative litigation” across multiple fora. Mot. at 18–19. While superficially

appealing, the Tyco Defendants’ argument defies common sense. Regardless of whether the JPML

transfers this action, the State will press its remand arguments, and the Tyco Defendants will

oppose them. Id. The Tyco Defendants will be required to expend the same efforts regardless of

whether this Court or the District of South Carolina rules on the State’s remand motion. If this

Court rules on the State’s remand motion, its holdings will constitute the law of the case; the Tyco

Defendants will not be forced to relitigate these issues even if this action is later transferred to the

District of South Carolina.

       The Tyco Defendants are also wrong that if this Court rules on the remand motion, it would
be prejudiced by “inconsistent rulings.”6 Federal-question jurisdiction is determined by reference

to the record in each case: here, the Complaint and the Notice of Removal. So, the State’s remand

motion is based on the Tyco Defendants’ failure—given the record in this case—to meet well-




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  The Tyco Defendants state that they will also be subject to “inconsistent . . . obligations on
common issues.” Mot. at 19. It is altogether unclear what the Tyco Defendants mean by an
“inconsistent obligation.” The Tyco Defendants’ liability to the State will be determined in this
civil action, not any other one.

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established requirements for federal-officer removal and federal enclave jurisdiction. The State

does not ask this Court to make any new law. There is no material risk of inconsistent rulings.

       Finally, the Tyco Defendants hypothesize that multidistrict litigation is designed to protect

defendants from litigation burdens and that the State’s remand motion tries to “undermine” that

purpose. ECF No. 10 at 18–19. To the contrary, the multidistrict litigation statute provides no

privileged place for defendants. Congress has directed the JPML to pursue broad objectives: the

“convenience of parties and witnesses” and the “just and efficient conduct of . . . actions.” 28

U.S.C. § 1407(a). Here, the State and the Tyco Defendants can conveniently litigate jurisdictional

issues before this Court. As the State will explain in the next section, early resolution of the State’s

remand motion can only conserve judicial resources. And far from trying to undermine the

multidistrict litigation process, the State presses a proper challenge to federal subject-matter

jurisdiction before the only court that is currently empowered to make jurisdictional

determinations.

       The Tyco Defendants do not show any prejudice absent a stay, much less prejudice that

overrides the State’s strong interest in rapidly prosecuting this action and protecting its residents.

                   3. Resolving the State’s remand motion would conserve judicial
                      resources.
       Resolving the State’s remand motion would conserve judicial resources. When the Court

examines the remand motion, it will likely find that glaring jurisdictional defects warrant remand.

If this Court remands this action, its order would obviate the need for the JPML to rule on the

State’s motion to vacate the CTO, preserving the resources of the seven bench officers who serve

on the Panel. See 28 U.S.C. § 1407(d) (composition of the JPML).

       Even if this Court ends up denying the State’s remand motion, the Court’s efforts would

not be wasted. Regardless of whether this action is subsequently transferred to the AFFF MDL,

the Court’s holdings will continue to be the law of the case, and this Court would have contributed

to advancing this action toward its conclusion.



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        The prudence of resolving the remand motion is reinforced by the fact that the JPML has

set a schedule for resolving transfer issues that gives this Court sufficient time to rule on the State’s

remand motion and decide whether there is federal subject-matter jurisdiction. The State agrees

with the Tyco Defendants that even if the JPML decides to transfer this action to the AFFF MDL,

any transfer decision would occur after the JPML hears the matter on December 1. See ECF No.

10 at 6 n.4. Put another way, this Court need not fear that the JPML will order a surprise transfer

of this action to the JPML while this Court is evaluating the State’s remand motion.

        The Tyco Defendants counterargue that the District of South Carolina is currently

considering a partial summary judgment motion about a government-contractor defense, and that

it would therefore be “wasteful” for this Court to “duplicate that effort” by ruling on the State’s

motion for remand. Mot. at 17–18. In so claiming, the Tyco Defendants gloss over glaring

differences between that motion and the State’s remand motion. The partial summary judgment

motion in the AFFF MDL rests on a completely different factual record as the State’s remand

motion. The State’s remand motion concerns only the facts in the limited record developed so far:

the Complaint and the Tyco Defendants’ Notice of Removal. By contrast, the partial summary

judgment motion in the AFFF MDL is based on a colossal evidentiary record. Put simply, even

Judge Gergel’s analysis of the government contractor defense in the AFFF MDL will not help him

determine whether federal-officer removal is appropriate in this action. Even assuming that the
partial summary judgment motion in the AFFF MDL is somehow relevant, the government-

contractor defense is only one of four elements the Tyco Defendants must show to invoke the

federal-officer removal statute (and the government-contractor defense is irrelevant to federal

enclave jurisdiction). See Ruppel, 701 F.3d at 1180 (elements of federal-officer removal). So, the

proceedings on the motion for summary judgment in the AFFF MDL cannot resolve the State’s

remand arguments.




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         In sum, resolving the State’s remand motion can only conserve judicial resources. This

factor, along with the other traditional factors, strongly weigh against a stay under the third Meyers

step.

                The likelihood that the JPML might transfer this action is irrelevant to this
                Court’s decision whether to stay.

         Because the Tyco Defendants cannot prevail under the three-step Meyers framework, they

inject an irrelevant consideration: they argue that when deciding whether to stay this action, this

Court should guess whether the JPML will transfer this action to the AFFF MDL. See Mot. at 1–

2.

         The Tyco Defendants invitation to play a guessing game is unsupported by the case law

they cite. If anything, the case law demonstrates that courts have scrupulously avoided considering

the probability of a transfer in similar circumstances. And for good reason: the transfer decision

rests solely in the JPML’s able hands. Tyco asks this Court to invade the JPML’s province by

entering an advisory opinion about the strength of the parties’ transfer arguments.

         Even if the Court considers the probability of a transfer, Tyco is wrong that this action is

“virtually certain” to be transferred to the MDL. Id. at 2. Moreover, even if this Court finds there

is a high likelihood of transfer, that finding would not alter the conclusion that under the traditional

stay factors, this Court should deny the stay motion and resolve the State’s remand motion.

                    1. The case law weighs against the Tyco Defendants’ invitation to play a
                       guessing game.
         The Tyco Defendants urge this Court—when ruling on the stay motion—to guess whether

the JPML will decide to transfer this action to the AFFF MDL. But this argument is unsupported

by the case law the Tyco Defendants cite.

         Principally, the Tyco Defendants suggest that in Miller v. Bayer HealthCare

Pharmaceuticals, No. 4:15-cv-1401, 2015 WL 5572801, at *1 (E.D. Mo. Sept. 22, 2015), the court

endorsed considering the likelihood of a transfer when deciding whether to stay an action in light



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of a pending CTO and a pending remand motion. Mot. at 16. The Tyco Defendants overread Miller.

Although the Miller court did consider the likelihood of transfer when deciding whether to stay

the action, the court did so reflexively and without considering whether it was prudent to opine on

the likelihood of transfer. 2015 WL 5572801, at *1.

       Contra Miller, Seventh Circuit district courts (including Judge Adelman in Meyers, 143 F.

Supp. 2d at 1053) have hewed closely to the three-step framework and avoided opining on whether

the JPML is likely to transfer an action.7 District courts outside of the Seventh Circuit have done

the same.8 If anything, the overwhelming weight of the case law demonstrates that this Court

should not consider whether the JPML is likely to transfer this action when evaluating the Tyco

Defendants’ stay motion.




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   These include all of the decisions that the Tyco Defendants stringcite. Uhle v. Depuy
Orthopaedics, Inc., No. 21 C 5798, 2021 WL 6622512, at *1 (N.D. Ill. Nov. 19, 2021) (avoiding
any statement about the likelihood of a transfer); Bad River Band of Lake Superior Chippewa v.
Purdue Pharma L.P., No. 18-cv-1017-jdp, 2019 WL 252026, at *1–2 (W.D. Wis. Jan. 17, 2019)
(noting that the defendants “hope[] to have the case transferred,” but declining to opine on the
probability of a transfer and equally considering both the possibility of transfer and non-transfer);
Lac Courte Oreilles Band of Lake Superior Chippewa Indians v. McKesson Corp., No. 18-cv-286-
jdp, 2018 WL 2390120, at *1–2 (W.D. Wis. May 25, 2018) (following the same approach as Bad
River Band) ; Est. of Hoholek v. AbbVie, Inc., No. 2:14–CV–405, 2014 WL 7205586 (N.D. Ind.
Dec. 17, 2014) (considering only the fact that there was a pending CTO, and not examining the
likelihood that the action would actually be transferred); Weinke v. Microsoft Corp., 84 F. Supp.
2d 989, 989‒90 (E.D. Wis. 2000).

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  Once again, these include all of the decisions that the Tyco Defendants stringcite. Marathon
Petroleum Co. LP v. 3M Co., No. 22-10117, 2022 WL 821667, at *1–2 (E.D. Mich. Mar. 17, 2022)
(choosing not to consider the likelihood of a transfer); Tibbetts v. 3M Co., No. 21-2400, 2022 WL
252685 (E.D. La. Jan. 27, 2022) (declining to opine on the likelihood even though “the defendants
submit[ted]” that “the JPML will likely order transfer”); ; Saracco v. State of Alaska, No. 1:21-cv-
00015-SLG, 2021 WL 5567417 (D. Alaska Nov. 29, 2021) (choosing not to consider the likelihood
of a transfer); Gaston v. State of Alaska, No. 4:21-cv-00019-SLG, 2021 WL 5567419 (D. Alaska
Nov. 29, 2021) (same).

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                   2. The Tyco Defendants’ guessing game risks invading the JPML’s
                      province and rendering an advisory opinion.
       It is unsurprising that courts have avoided guessing whether the JPML might transfer an

action to an MDL. The JPML has sole authority to decide transfer issues; this Court has no role in

the process. See 28 U.S.C. § 1407(a), (c) (statutory provisions governing transfer). If this Court

plays the Tyco Defendants’ guessing game, it would invade the JPML’s province and render an

advisory opinion that may end up conflicting with the JPML’s actual transfer decision. In doing

so, this Court would overstep its limited Article III powers. See Matlin v. Spin Master Corp., 979

F.3d 1177, 1181 (7th Cir. 2020) (clarifying that the rule against advisory opinions stems from
courts’ jurisdictional limitations). So, this Court should ignore the Tyco Defendants’ arguments

based their supposition that a transfer is highly likely.

                   3. In any event, the Tyco Defendants are wrong that this action is
                      “virtually certain” to be transferred to the MDL.
       In any event, the Tyco Defendants overestimate the likelihood that this action will be

transferred to the AFFF MDL. The Tyco Defendants’ miscalculation rests on their erroneous belief

that the JPML has adopted a categorical rule that all actions involving AFFF must be sent to the

AFFF MDL. Mot. at 6–7.

       The Tyco Defendants claim this rule lurks in the Panel’s 2018 order establishing the AFFF

MDL. It is not. There, the Panel used the term “AFFF actions” to refer to specific actions listed on

a schedule to the order. AFFF MDL, 357 F. Supp. 3d 1391, 1392–94 (J.P.M.L. 2018) (actions on

Schedule A are “AFFF actions,” and actions on Schedule B are “non-AFFF actions”). The Panel

rejected arguments by certain plaintiffs that factors unique to their cases weighed against

consolidation. Id. at 1395–96. In that context, the JPML remarked that “[w]e will not exclude any

of the AFFF actions from the MDL.” Id. at 1395. The Tyco Defendants misquote the JPML’s

remark as standing for an inflexible rule that all actions involving AFFF must belong in the MDL.

See Mot. at 6–7 (“The JPML has explained that it ‘will not exclude any of the AFFF actions from
the MDL.’ And this is clearly an ‘AFFF action,’ because on the face of the Complaint Plaintiff’s



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claims expressly relate in part to the use of PFAS-containing AFFF.”). That is not a fair reading

of the Panel’s order, which did not use the term “AFFF actions” in a general sense.

       Instead, Congress has commanded the JPML to weigh a wide range of factors when

deciding whether to transfer an action to an MDL. The Panel is required to consider whether

transfer “will be for the convenience of parties and witnesses and will promote the just and efficient

conduct of such actions.” 28 U.S.C. § 1407(a). Consonantly, the JPML has frequently held that

the presence of some common issues does not warrant coordination; rather, common issues must

be substantial enough that the benefits of coordination outweigh the downsides. E.g., In re Spray

Polyurethane Foam Insulation Prods. Liab. Litig., 949 F. Supp. 2d 1364 (J.P.M.L. 2013).

       Here, the State has compelling arguments that even though this action implicates AFFF in

limited part, it is a poor fit for the AFFF MDL. For example, the State’s case is a massive statewide

action; “[n]o corner of the State has been left untouched.” Compl. ¶ 10. So, even absent transfer,

this action achieves substantial economies of scale because it addresses a broad swath of injuries,

and the usual efficiency and convenience benefits of further coordination are quite limited. Also,

the State’s Complaint makes clear that its PFAS-related claims are about far more than just AFFF.

The State has specific, detailed allegations about contaminated sites that have nothing to do with

AFFF, e.g., id. ¶ 144(f), and seeks relief for injuries sustained because of all PFAS Products, id.

¶ 5, including PFAS incorporated into a wide array of non-AFFF consumer and industrial products,
id. ¶ 55. Consequently, the State’s action presents numerous questions and issues that are not held

in common with other actions in the AFFF MDL. Once again, this means the usual benefits of

coordination are absent.

       So, the Tyco Defendants are wrong to portray transfer as a foregone conclusion. The

uncertainty of transfer compounds the problems that inhere in the guessing game the Tyco

Defendants urge.




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                     4. Even assuming this action is likely to be transferred, a stay is
                        unwarranted under Meyers.
          Even if this Court considers whether the JPML might transfer this action to the AFFF MDL,

and even if this Court accepts the Tyco Defendants’ speculation that the Panel will inevitably effect

a transfer, a stay would nevertheless be unwarranted under the three Meyers steps.

          Recall that under the first step, this Court should preliminarily assess the strength of the

State’s remand motion. Even assuming the JPML will transfer this action, the Tyco Defendants’

arguments for federal subject-matter jurisdiction would remain unmeritorious. The Court should

grant the State’s remand motion at the first step.
          Likewise, the second Meyers step would remain unchanged. Under the second step’s first

sub-step, the State’s remand motion would not pose difficult factual or legal questions. Under the

second sub-step, the District of South Carolina has not routinely resolved similar or identical

issues.

          If the Court reaches the third step and considers the traditional stay factors, a stay would

be unwarranted even if a transfer seems likely. The State would continue to have an overwhelming

public interest in speedy resolution that a stay would gravely prejudice. The Tyco Defendants

would not face any real prejudice absent a stay; regardless of whether this Court or the District of

South Carolina adjudicates the remand motion, the Tyco Defendants would bear the same burden

to oppose it. And judicial efficiency considerations would continue to favor a resolution of the

State’s remand motion by this Court, which would remain—until the transfer is effective—the

only court empowered to return this action to the proper judicial system.

          In sum, even if this Court assumes that the Panel will transfer this action, that assumption

would not warrant a stay under the three-step Meyers framework.

V.        CONCLUSION

          For the foregoing reasons, the State respectfully requests that the Court deny the Tyco

Defendants’ motion for a stay.




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Dated: August 29, 2022              /s/ Stephanie D. Biehl

                                    SHER EDLING LLP

                                    Stephanie D. Biehl
                                    100 Montgomery Street, Suite 1410
                                    San Francisco, CA 94104
                                    Tel.: (628) 231-2507
                                    Email: stephanie@sheredling.com

                                    Joshua L. Kaul
                                    Attorney General of Wisconsin

                                    R. Duane Harlow
                                    Assistant Attorney General
                                    State Bar # 1025622

                                    Bradley J. Motl
                                    Assistant Attorney General
                                    State Bar # 1074743

                                    Sarah C. Geers
                                    Assistant Attorney General
                                    State Bar # 1066948

                                    Post Office Box 7857
                                    Madison, Wisconsin 53707-7857
                                    Tel.: (608) 266-2950
                                    Fax: (608) 294-2907
                                    Email: harlowrd@doj.state.wi.us
                                            motlbj@doj.state.wi.us
                                            geerssc@doj.state.wi.us




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